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                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY


In re:                                                       Chapter 11

RITE AID CORPORATION, et al.,                                Case No. 23-18993 (MBK)

                                    Debtors. 1               (Joint Administration Requested)




                               DECLARATION OF
                     MARC LIEBMAN IN SUPPORT OF DEBTORS’
                 MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
            (I) AUTHORIZING AND APPROVING THE CONDUCT OF STORE
       CLOSING SALES, WITH SUCH SALES TO BE FREE AND CLEAR OF ALL
    LIENS, CLAIMS, AND ENCUMBRANCES, AND (II) GRANTING RELATED RELIEF

         I, Marc Liebman, hereby declare under penalty of perjury:



1
     The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
     Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
     website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
     The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
     these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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        1.       I am a Managing Director at Alvarez & Marsal North America, LLC (“A&M”),

proposed financial advisor to the above-captioned debtors and debtors in possession

(collectively, the “Debtors”). I was appointed as Chief Transformation Officer of the Debtors on

October 15, 2023.

        2.       I submit this declaration (this “Declaration”) in support of the Debtors’ Motion

for Entry of Interim and Final Orders (I) Authorizing and Approving the Conduct of Store

Closing Sales, With Such Sales to Be Free and Clear of All Liens, Claims, and Encumbrances,

and (II) Granting Related Relief (the “Motion”). 2

        3.       Except where specifically noted, the statements set forth in this Declaration are

based upon my personal knowledge, my discussions with other members of the Debtors’

management team and the Debtors’ advisors, my review of relevant documents and information

concerning the Debtors’ operations, financial affairs, and restructuring initiatives.                     I am

authorized to submit this Declaration on behalf of the Debtors and, if called upon to testify, I

would testify as follows.

                                                Qualifications

        4.       I have been a financial advisor to stressed and distressed companies for more than

two decades. I have a bachelor’s degree in business administration with a concentration in

accounting from the University of Notre Dame and an MBA in finance from the University of

Chicago. I joined A&M in 2002. A&M is a restructuring consulting firm with extensive

experience providing high quality, specialized management and restructuring advisory services

to debtors and distressed companies, including turnaround advisory services, revenue

enhancement, claims management, and creditor and risk management advisory services. My


2
    Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.


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representative    restructuring   engagements     include    AMERCO/U-Haul,          Avaya,    Clover

Technologies, Forbes Energy, Fresh & Easy Markets, Grubb & Ellis, Katerra, LBI Media,

Nellson Nutraceutical, Relativity Media, Washington Prime Group, Whiting Petroleum, William

Lyon Homes, and World Kitchen.

       5.        The Debtors engaged A&M on May 5, 2023. Over the past five months, my team

and I have assisted management to (a) conduct an assessment of the Debtors’ store footprint and

execute a store rationalization plan, (b) develop operational turnaround, cost savings and

transformation plans, (c) formulate long-range business plans, and forecasts, (d) manage and

forecast liquidity, (e) support contingency preparations and M&A processes, (f) analyze various

considerations related to store closures, and (g) identify certain underperforming stores for

closing, among other things. Based on our work, I am generally familiar with the Debtors’

capital structure, day-to-day operations, business plan, transformation, and cost-reduction

strategies, liquidity, relationships with their suppliers and partners, business and financial affairs,

and books and records.

                                        The Store Closings

       6.        Prior to the Petition Date, the Debtors were engaged in an ongoing rationalization

of their retail pharmacy store footprint. Through the Debtors’ prepetition store closing process,

commenced in August 2023, 164 store locations ceased operations, including 64 locations where

prescription files were sold, generating approximately $55 million in net proceeds from such

sales. In recent months, the Debtors accelerated their store closure process in connection with

their broader restructuring efforts, including their development of a go-forward business plan. A

key component of the Debtors’ go-forward business plan, and of the agreed-in-principle

value-maximizing restructuring of the Debtors to be memorialized in the Restructuring Support



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Agreement, is the continuation and completion of their multi-year store footprint rationalization,

including related sales and internal transfers of prescription files.

       7.      The Debtors, with the assistance of their advisors, conducted a comprehensive

prepetition analysis of the Debtors’ store portfolio, financial performance, and market geography

to identify unprofitable, underperforming, or otherwise sub-optimal store locations.          Once

identified, the Debtors determined the best strategy to maximize proceeds from the closure

process for each location based on proceeds realizable through the sale or internal transfer of

prescription files and related records (collectively, the “Prescription Assets”), store inventory,

including front-end retail inventory (collectively, “Inventory”), and store fixtures, furniture, and

equipment (collectively, “FF&E,” and together with Inventory, “Non-Prescription Assets”).

With respect to Inventory, the Debtors’ strategy for maximizing store proceeds consists of either

(i) conducting a self-managed strategic mark-down plan followed by clearance sales; and / or

(ii) transferring Inventory to other Company store locations that would remain open. With

respect to Prescription Assets, the Debtors’ strategy consists of either (i) transferring

(or “pouring”) Prescription Assets to nearby Company store locations that would remain open, or

(ii) selling Prescription Assets to another (non-Rite Aid) pharmacy. The culmination of these

efforts is a meticulous, carefully considered store closure plan centered on value maximization.

       8.      Consistent with the store closure plan developed by the Debtors and

their advisors, the Debtors identified a set of 154 Initial Closing Stores (including certain of the

164 store locations that have already ceased operations) comprising store locations where the

closing process started prepetition and is ongoing, or is planned to start soon after the Petition

Date. The continuation and completion of the Initial Store Closings will allow the Debtors to

realize a near-term liquidity improvement and related benefits. The Debtors anticipate that each



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Store Closing will take approximately 4–6 weeks to complete. The Debtors expect to identify

Additional Closing Stores in the future.

       9.      To facilitate the Store Closings, the Debtors and their advisors reviewed and

analyzed the Sale Guidelines which are further described in the Motion. The Sale Guidelines are

substantially similar to sale guidelines approved in retail bankruptcies across the United States,

and provide streamlined procedures to sell the Closing Store Assets and effectuate the Store

Closings. The Sale Guidelines will provide the best and most efficient means of selling the Store

Closure Assets and the Prescription Assets to maximize their value to the estates.

       10.     Several states in which the Debtors operate have laws and regulations that require

the Debtors to pay an employee substantially contemporaneously with his or her termination.

These laws often require payment to occur immediately or within a period of only a few days

from the date such employee is terminated. The nature of the Store Closings contemplated by

the Motion will result in the termination of certain Closing Store employees’ employment during

the Store Closings. Under ordinary circumstances, the Debtors’ payroll department is able to

coordinate delivery of final checks to coincide with an employee’s final day of work where

required by applicable law. This process requires the Debtors’ payroll department to calculate

individual payments upon termination, prepare each termination payment check, obtain

authorization for each such check and then prepare each such check for mailing. Given the

number of employees who will be terminated during the Store Closings, this process could easily

take several days, making compliance with the Fast Pay Laws burdensome to the Debtors’

estates, if not impossible.   Accordingly, the Debtors require relief from Fast Pay Laws in

connection with the Store Closings.




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       11.     For several reasons, any interruption or delay in the Store Closings and related

Sales will diminish the value realizable upon the sale or other transfer of the Closing Stores’

Prescription Assets and Non-Prescription Assets.

       12.     First, the Prescription Assets are prototypical “melting ice cube” assets.       If

customers anticipate a potential store closure—which they likely will given extensive media

coverage of the Debtors’ restructuring and the public nature of these cases—they may transfer

their prescriptions to another pharmacy, leaving no saleable or internally transferable

prescription file with the old pharmacy. This dynamic is compounded by the limited market for

the Prescription Assets, which I understand generally can only be sold to another

licensed/registered pharmacy, thus limiting the universe of potential acquirors.        I further

understand that, over time, the Debtors have developed an orderly, efficient system for

monetizing prescription files, which includes a bidding process, robust analysis of competing

bids, and a corresponding sale for each batch of prescription files being sold. Accordingly, the

Debtors’ continuation of Sales and internal transfers of Prescription Assets consistent with their

historical practice, as the Motion contemplates, is the most effective way to maximize the value

of those assets.

       13.     Second, more generally, any interruption or delay in Store Closings and related

Sales could reduce the recovery value of other Closing Store Assets. In particular, interruptions

and delays could cause incremental costs including those related to store occupancy, labor,

spoilage, and shrinkage, deferring the Debtors’ ability to generate cash from the monetization of

Closing Store Assets.

       14.     Third, uninterrupted and orderly Store Closings and related Sales will allow the

Debtors to reject or assume and assign the leases associated with the Closing Stores in a timely



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manner, consistent with the planned cadence of the Debtors’ chapter 11 process. Any delay in

this process may cause the Debtors to incur additional postpetition rent obligations and other

occupancy costs, potentially costing the estates millions of dollars each month with no net

benefit to the estates.

        15.     For all of these reasons, the Motion and relief contemplated therein reflects the

Debtors’ sound business judgment and is in the best interests of their estates and their creditors.

                           [Remainder of page intentionally left blank]




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct.

Respectfully Submitted,
Dated: October 16, 2023                       /s/ Marc Liebman
                                              Marc Liebman
                                              Managing Director
                                              Alvarez and Marsal North America, LLC
